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Judge: Edmunds, Nancy G.
MJ: Grand, David R.
Filed: 09-18-2019 At 03:08 PM
USA V SEALED MATTER (af)
UNITED STATES DISTRIC « Woun:

FOR THE EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
CRIMINAL NO.
UNITED STATES OF AMERICA, INDICTMENT
V. 18 U.S.C. § 371 (Conspiracy to

Defraud the United States, Violate the
Clean Air Act, and Commit Wire
Fraud);

EMANUELE PALMA 42 U.S.C. § 7413 (Violations of the
Clean Air Act);

Defendant. 18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. § 1001 (False Statements);
and
18 U.S.C. § 2 (Aiding and Abetting)

The Grand Jury charges that:
GENERAL ALLEGATIONS
At all times relevant to this Indictment:
I. RELEVANT INDIVIDUALS AND ENTITIES
A. Relevant Companies

1. Fiat Chrysler Automobiles N.V. (“FCA NV”) was a motor vehicle
manufacturer based in Turin, Italy. FCA US LLC, formerly Chrysler Group LLC,
was a wholly owned subsidiary of FCA NV, based in Auburn Hills, Michigan
(collectively, “FCA”).

2. FCA’s business was to design, engineer, manufacture, and sell motor

vehicles worldwide, including in the United States. FCA’s automotive brands

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included, among others, Fiat, Chrysler, Ram, and Jeep.

3. VM Motori S.p.A. (“VM”) was a diesel engine manufacturing company
based in Cento, Italy, with offices in the United States, in Auburn Hills, Michigan.
Beginning in 2010, FCA owned 50% of VM. Beginning in 2013, VM was a wholly
owned subsidiary of FCA.

B. The Defendant

4, From in or about 2007 until in or about June 2016, defendant
EMANUELE PALMA worked for VM. From in or about 2012 until in or about
June 2016, PALMA was a Diesel Calibration Manager based in Auburn Hills,
Michigan, and led a team of engineers that developed and calibrated diesel engines
for use in FCA’s vehicles. From in or about June 2016 through the present,
PALMA worked directly for FCA as a Diesel Drivability and Emissions Senior
Manager.

C. FCA’s Diesel Vehicles Sold in the United States

5. Beginning in at least 2010, FCA started a program to develop a new
3.0-liter diesel engine for use in FCA’s Jeep Grand Cherokee and Ram 1500 vehicles
that would be sold in North America, including in the United States.

6. Between 2010 and continuing to at least 2017, FCA worked with VM
to develop and calibrate the new 3.0-liter diesel engine, and to obtain regulatory

approval to sell the new diesel vehicles in the United States.
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7. Beginning in 2013, FCA sold, offered for sale, introduced into
commerce, delivered for introduction into commerce, and imported into the United
States (collectively “sold in the United States”) the following vehicles with the new
3.0-liter diesel engine (the “Subject Vehicles”):

a. Model Years 2014-2016 Jeep Grand Cherokee; and
b. Model Years 2014-2016 Ram 1500.

8. During both the design phase and the marketing phase of the Subject
Vehicles, FCA represented to FCA’s regulators, customers, and the public that the
Subject Vehicles met the relevant United States regulatory standards, including
regulatory standards governing the emissions of pollutants.

D. FCA’s Regulators in the United States
The Environmental Protection Agency

9. Nitrogen oxides or “NOx” are a family of poisonous gases that form
when diesel or other fuels are burned at high temperatures. Motor vehicles using
diesel engines may produce and emit NOx during normal vehicle operation.

10. The Environmental Protection Agency (“EPA”) was an independent
agency of the United States charged with implementing and enforcing standards for
air quality, water quality, and individual pollutants, including NOx.

11. The Clean Air Act and its implementing regulations (collectively, “the

Clean Air Act”), were designed to protect human health and the environment by,
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among other things, reducing emissions of pollutants from new motor vehicles.
The Clean Air Act required the EPA to promulgate standards for emissions of
pollutants from new motor vehicles, including NOx.

12. In 1998, the United States established new federal emissions standards
that would be implemented in separate steps, or Tiers. Tier II emissions standards,
including for NOx emissions, were significantly stricter than Tier I. For light-duty
vehicles, the regulations required manufacturers like FCA to begin to phase in
compliance with the new, stricter Tier II NOx emissions standards in 2004, and
required manufacturers like FCA to fully comply with the stricter standards for
model year 2007.

13. The Clean Air Act prohibited manufacturers of new motor vehicles
from selling, offering for sale, introducing or delivering for introduction into
commerce, or importing (or causing the foregoing with respect to) any new motor
vehicle unless the vehicle or engine (a) complied with emissions standards, including
NOx emissions standards, and (b) was issued an EPA certificate of conformity
(“COC”) as required by the Clean Air Act.

14. The EPA used a series of federal test procedures (hereinafter, the
“federal test procedures”) to measure both tailpipe emissions of NOx and other
pollutants, as well as fuel economy for new motor vehicles offered for sale in the

United States. During these federal test procedures — commonly referred to as
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driving “cycles” — motor vehicles would be placed on a device called a chassis
dynamometer, which allowed the motor vehicle engine to run through simulated
driving conditions while tailpipe emissions and fuel economy were tested. Each
driving “cycle” was generally designed to simulate certain types of driving
conditions, and to assess emissions and fuel consumption under those conditions.
The EPA permitted manufacturers like FCA to conduct the required federal test
procedures for new vehicles themselves, and to submit the certified results of those
tests or driving “cycles” as part of their application for a COC.

15. Under the Clean Air Act, manufacturers like FCA were required to
submit an application for a COC to the EPA for each model year (“MY”), and for
each test group of vehicles that it intended to sell in the United States. The
application was required to be in writing, to be signed by an authorized
representative of the manufacturer, and to include the results of testing done pursuant
to the published federal test procedures that measure NOx emissions.

16. In addition, manufacturers like FCA were required to include in the
application descriptions of the engine, emissions control systems, and fuel system
components, including a detailed description and justification for each Auxiliary
Emission Control Device (“AECD”) installed in the vehicle. An AECD was
defined under the Clean Air Act as “any element of design which senses temperature,

vehicle speed, engine RPM, transmission gear, manifold vacuum, or any other
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parameter for the purpose of activating, modulating, delaying, or deactivating the
operation of any part of the emission control system.”

17. Under the Clean Air Act, if the EPA in reviewing the application for a
COC, determined that an AECD “reduced the effectiveness of the emission control
system under conditions which may reasonably be expected to be encountered in
normal vehicle operation and use,” and that (1) it was not substantially included in
the federal test procedure, (2) the need for the AECD was not justified for protection
of the vehicle against damage or accident, or (3) it went beyond the requirements of
engine starting, the AECD was deemed a “defeat device.” The EPA would not
issue a COC for motor vehicles equipped with defeat devices.

18. After receiving a COC, manufacturers like FCA could still be required
to submit to the EPA a description of any “running changes” made during the
manufacturing of any certified vehicle, which included changes in vehicle or engine
configuration, equipment, or calibration, which were made by the manufacturer in
the course of motor vehicle or motor vehicle engine production. If the EPA
determined that the vehicles affected by the “running change” did not meet the
applicable standards of the EPA, the EPA could notify the manufacturer to rescind
the addition or change immediately upon receipt of the notification.

The California Air Resources Board

19. As part of the process for obtaining approval to sell new vehicles,
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manufacturers like FCA often worked in parallel with the EPA and the California
Air Resources Board (“CARB”) (collectively “FCA’s Regulators”). CARB issued
its own certificates, called Executive Orders, for the sale of motor vehicles in the
State of California. In order to obtain an Executive Order from CARB and sell cars
in the State of California, manufacturers like FCA were required to satisfy the
standards set and enforced by the State of California.

20. In addition to demonstrating compliance with federal emissions
standards, manufacturers like FCA were also required to demonstrate that their light-
duty vehicles were equipped with an on-board diagnostic (“OBD”) system capable
of monitoring all emissions-related systems or components. Because CARB’s
OBD standards were at least equal to the federal OBD standards that were enforced
and set by the EPA, manufacturers like FCA could demonstrate compliance with
federal OBD standards by demonstrating compliance with CARB’s OBD standards.
CARB reviewed applications from manufacturers like FCA to determine whether
their OBD systems were in compliance with California OBD standards, and CARB’s
conclusion would be included in the application manufacturers submitted to the
EPA.

E. FCA’s Applications for the Subject Vehicles

21. Between 2013 and continuing through 2016, FCA prepared and

submitted applications for COCs to the EPA, and applications for Executive Orders
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to CARB (collectively the “Applications”), in order to obtain authorization to sell

each of the Subject Vehicles in the United States.

22.

FCA’s Applications to the EPA for the Subject Vehicles were

accompanied by the following statement signed by an FCA representative:

Chrysler Group LLC states that any element of design, system, or
emission control device installed on or incorporated in Chrysler Group
LLC new motor vehicles or new motor vehicle engines, for the purpose
of complying with standards prescribed under Section 202 of the Clean
Air Act, will not, to the best of Chrysler Group LLC’s information and
belief, cause the emission into the ambient air of pollutants in the
operation of its motor vehicles or motor vehicle engines which cause or
contribute to an unreasonable risk to public health or welfare except as
specifically permitted by the standards prescribed under Section 202 of
the Clean Air Act. Chrysler Group LLC further states that any element
of design, system, or emission control device installed on or
incorporated in Chrysler Group LLC’s new motor vehicles or new
motor vehicle engines, for the purpose of complying with standards
prescribed under Section 202 of the Clean Air Act, will not, to the best
of Chrysler Group LLC’s information and belief, cause or contribute to
an unreasonable risk to public safety.

The motor vehicles were tested in accordance with good engineering
practice to ascertain that such test vehicles will meet with requirements
for the useful life of the vehicle in those situations where Chrysler
Group LLC had a reasonable basis for suspecting either an unsafe
condition or the emission of noxious or toxic matter.

Chrysler Group LLC further states to the best of its knowledge and
belief the test vehicles, with respect to which data are submitted, were
tested in accordance with the applicable test procedures, meet the
requirements of such tests, and, on the basis of such tests, conform to
the requirements of the regulations.

23. Based on the representations made by FCA in the Applications for the
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Subject Vehicles, including FCA’s representations that all AECDs had been
disclosed to FCA’s Regulators, FCA’s Regulators issued COCs and Executive
Orders that allowed FCA to sell the Subject Vehicles in the United States.

F. The Primary Emissions Control Systems Used on the Subject
Vehicles

24. Diesel-fueled motor vehicles often use a combination of emissions
control systems to comply with the relevant emissions standards. The two primary
emissions control systems used by FCA on the Subject Vehicles to control NOx
emissions were an engine control system called “Exhaust Gas Recirculation,” or
“EGR,” and an after-treatment system called Selective Catalytic Reduction, or
“SCR.”

25. EGR systems work to reduce NOx emissions by recirculating a portion
of the exhaust gas back to the engine’s combustion chamber, which lowers both the
combustion temperature and the oxygen concentration in the chamber, and thereby
reduces the formation of NOx in the engine.

26. As a general principle, an increase in the EGR rate will reduce NOx
formation in the engine, but will also reduce fuel economy, while a reduction in the
EGR rate will increase NOx formation in the engine, but will also have the benefit
of increasing fuel economy.

27. SCR after-treatment systems work to reduce NOx emissions by

removing NOx from the exhaust after combustion, but prior to emission of exhaust
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from the tailpipe of the motor vehicle. SCR systems inject an ammonia solution
into the exhaust stream at a calibrated dosing rate in order to produce a chemical
reaction to reduce NOx to nitrogen and water.

28. The ammonia solution used by FCA in the Subject Vehicles’ SCR
system was known as diesel exhaust fluid (“DEF”), urea, or by its trade name,
AdBlue. In the Subject Vehicles, the DEF used in the SCR system was stored in a
tank, and when the SCR system used up the available DEF, the owner of the vehicle
would need to refill the tank with additional DEF.

29. Asa general principle, an increase in the DEF dosing rate will remove
more NOx from the exhaust stream, but also increase the SCR system’s consumption
of DEF, while a decrease in the DEF dosing rate will remove less NOx from the
exhaust stream, but also have the benefit of reducing the SCR system’s consumption
of DEF.

Controlling the EGR Rate on the Subject Vehicles

 

30. During the design of the diesel engine used in the Subject Vehicles,
PALMA and others calibrated a software feature known as “T_Eng” to control the
engine’s EGR rate. By using T_Eng and other methods to control the engine’s EGR
rate, PALMA and others decided when and under what conditions the engine would
produce higher NOx emissions with higher fuel economy, and when and under what

conditions the engine would produce lower NOx emissions with lower fuel

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economy.

Controlling the SCR Dosing Rate on the Subject Vehicles

31. Also during the design of the diesel engine used in the Subject Vehicles,
PALMA and others calibrated software features known as “Standard Dosing” and
“Online Dosing” to control the SCR system’s DEF dosing rate. These two different
dosing modes were calibrated based on judgments made by PALMA and others
involved in the development of the engine. By using two different dosing modes to
control the DEF dosing rate, PALMA and others decided when and under what
conditions the SCR system would produce higher NOx emissions with reduced DEF
consumption, and when and under what conditions the SCR system would produce
lower NOx emissions with higher DEF consumption.

Il. THE SCHEME
A. Overview of the Scheme

32. From in or around at least December 2011 and continuing through in or
around at least April 2017, PALMA, and others, known and unknown to the Grand
Jury, did knowingly, intentionally, and willfully combine, conspire, and confederate,
and did agree, to mislead FCA’s Regulators, customers, and the public, by making
and causing others to make false and misleading representations about (a) the design,
calibration, and function of the emissions control systems used on the Subject

Vehicles, and (b) the emissions of pollutants from the Subject Vehicles.

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B. Purpose of the Scheme

33. The purpose of the scheme was for PALMA and his co-conspirators to
(a) make and cause others to make false and misleading representations to FCA’s
Regulators in order to obtain regulatory approval to sell the Subject Vehicles in the
United States; (b) make and cause others to make false and misleading
representations to FCA’s customers and the public in an effort to increase sales and
promote the Subject Vehicles; and (c) enrich themselves through the continued
receipt of compensation and other benefits.

C. Description of the Scheme

34. In order to mislead FCA’s Regulators, customers, and the public about
(a) the design, calibration, and function of the emissions control systems used on the
Subject Vehicles, and (b) the emissions of pollutants from the Subject Vehicles,
PALMA and his co-conspirators used a variety of manner and means to accomplish
their unlawful purpose. As set forth below, PALMA and his co-conspirators
purposefully calibrated the EGR and SCR systems on the Subject Vehicles to
produce less NOx emissions on the federal test procedures than when the Subject
Vehicles were being driven by FCA’s customers in the real world. PALMA and
his co-conspirators then engaged in deceptive and fraudulent conduct to conceal the
emissions impact and function of the emissions control systems from FCA’s

Regulators, customers, and the public, by (a) submitting false and misleading

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Applications to FCA’s Regulators, (b) making false and misleading representations
to FCA’s Regulators both in-person and in response to written requests for
information, and (c) causing false and misleading representations to be made to the
public about the Subject Vehicles, including that the Subject Vehicles were equipped
with fuel efficient “clean EcoDiesel engine[s]” that reduced emissions, and were
environmentally-friendly.

35. First, PALMA, and his co-conspirators purposefully calibrated the
emissions control system to produce (a) lower NOx emissions under conditions
when the Subject Vehicles would be undergoing testing on the federal test
procedures or driving “cycles,” and (b) higher NOx emissions under conditions
when the Subject Vehicles would be driven in the real world, and not subjected to
testing on the federal test procedures or driving “cycles.”

36. By calibrating the emissions control system on the Subject Vehicles to
produce lower NOx emissions while the vehicles were on the driving “cycle,” and
higher NOx emissions when the vehicles were off the driving “cycle,” or “off cycle,”
PALMA and his co-conspirators purposefully misled FCA’s Regulators by making
it appear that the Subject Vehicles were producing less NOx emissions than when

operated in real world driving conditions.
37. With respect to the EGR system used in the Subject Vehicles, PALMA

and his co-conspirators calibrated the T_Eng software to lower NOx emissions by

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increasing the EGR rate when the vehicles were being tested for emissions on the
federal driving “cycle.” Conversely, when the Subject Vehicles were undergoing
other portions of the federal test procedures, such as when the vehicles were being

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tested for fuel economy, or when the Subject Vehicles were “off cycle,” i.e. not
undergoing federal testing but instead being driven by FCA’s customers, PALMA
and his co-conspirators increased the NOx emissions of the Subject Vehicles by
using the T_Eng software and other methods to lower the EGR rate.

38. Moreover, because PALMA and his co-conspirators purposefully
lowered the EGR rate during the portion of the federal test procedures that measured
fuel economy, PALMA and his co-conspirators obtained a favorable fuel economy
rating from FCA’s Regulators, in an effort to make the Subject Vehicles more
attractive to FCA’s potential customers, while also passing the emissions tests.
PALMA and his co-conspirators referred to the manner in which they manipulated
the EGR rate using the T_Eng software as “cycle detection.”

39. With respect to the SCR system used in the Subject Vehicles, PALMA
and his co-conspirators calibrated the SCR system to produce lower NOx emissions
by increasing the DEF dosing rate when the vehicles were being tested for emissions
on the federal driving “cycle.” Conversely, when the Subject Vehicles were “off

cycle,” ie. not undergoing federal testing but instead being driven by FCA’s

customers, PALMA and his co-conspirators designed the Subject Vehicles to emit

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higher levels of NOx by reducing the DEF dosing rate. PALMA and his co-
conspirators purposefully reduced the DEF dosing rate “off cycle” in order to
increase the number of miles the Subject Vehicles could be driven before the DEF
tank would need to be refilled, in an effort to make the vehicles more attractive to
FCA’s potential customers, while also passing the emissions tests. PALMA, his
co-conspirators, and others, referred to the increased DEF dosing rate when the
Subject Vehicles were “on cycle” as “Standard Dosing,” and the reduced DEF
dosing rate when the Subject Vehicles were “off cycle” as “Online Dosing.”

40. Second, because PALMA and his co-conspirators knew that their
decision to calibrate the emissions control system used on the Subject Vehicles to
perform differently “on cycle” versus “off cycle” would be subjected to significant
scrutiny by FCA’s Regulators, PALMA and his co-conspirators made and caused
others to make false and misleading representations to FCA’s Regulators in order to
ensure that they obtained regulatory approval to sell the Subject Vehicles in the
United States.

41. Specifically, because disclosure of these emissions control strategies
carried a risk that FCA’s Regulators would not agree that these strategies, and the
resulting increase in NOx emissions, were justified under the relevant regulations,
PALMA and his co-conspirators concealed that they had calibrated the EGR rate

and DEF dosing rates on the Subject Vehicles to perform differently “on cycle”

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versus “off cycle.” PALMA and his co-conspirators also concealed that they did
not calibrate the emissions control systems used in the Subject Vehicles to maximize
the reduction of NOx emissions, but instead calibrated the emissions control systems
to increase emissions under conditions that they believed would make the Subject
Vehicles more attractive to FCA’s potential customers, ie., by increasing fuel
economy and reducing the SCR system’s DEF consumption.

42. In order to prevent FCA’s Regulators from reviewing and
understanding the true impact of the emissions control system used on the Subject
Vehicles, PALMA and his co-conspirators engaged in deceptive and fraudulent
conduct, including (a) concealing from FCA’s Regulators their manipulation of EGR
rates and their use of two different DEF dosing modes, (b) making false and
misleading representations to FCA’s Regulators in the Applications submitted for
the Subject Vehicles, and (c) making false and misleading representations to FCA’s
Regulators during in-person meetings that were held for the purpose of discussing
the emissions control system used in the Subject Vehicles.

43. Third, PALMA and his co-conspirators deceived and caused others to
deceive FCA’s customers and the public through claims that the Subject Vehicles
had “clean EcoDiesel engines,” and that the Subject Vehicles were fully approved
and certified by FCA’s Regulators, when they knew in reality that FCA’s Regulators

had authorized the sale of the Subject Vehicles, and approved the emissions control

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system used on the Subject Vehicles based, in part, on the false and misleading
representations PALMA and his co-conspirators made and caused others to make in
the Applications.

Deceptive and Fraudulent Conduct to Conceal the Function of T Eng and the
Emissions Impact of EGR Rate Changes

 

 

44. After introducing T_Eng as a “cycle detection” strategy into the design
of the Subject Vehicles, PALMA and his co-conspirators began to discuss potential
false and fraudulent excuses they could use with FCA’s Regulators to justify the
T_Eng function if it were disclosed during the Application process. For example,
in January 2012, one of PALMA’s co-conspirators emailed PALMA and others
about T Eng, writing, “Surely our approach will not be accepted by CARB because
[it] is clearly aimed at cycle recognition. The[] only way to use it is to justify it as
an aid for proper engine performance, e/g/. for cold-start or, anyway, during

' PALMA’s supervisor agreed, writing back that “[c]learly, t_engine, as

warmup.”
is, seems to be a cycle recognition. Instead, I think that it could be justified as an
optimization of engine operation during warm-up.” PALMA’s supervisor then
admonished PALMA, his co-conspirators, and others to “not call it cycle

recognition, not even among us.”

45. Approximately one month later, PALMA and his co-conspirators

 

' Some of the emails quoted in this Indictment have been translated from Italian to English.

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discussed using another false excuse with FCA’s Regulators to justify T_Eng — that
the EGR rate was being ramped down during the federal test procedures as the
efficiency of the SCR system improved and the engine warmed up — which led
PALMA’s supervisor to proclaim, “Nice []! We will ‘baptize’ t-engine as an
efficiency factor of the SCR system.”

46. Eventually, PALMA and his co-conspirators decided to not even try to
falsely justify the T_Eng function and the impact it had on the EGR rate in the
Applications submitted to FCA’s Regulators, choosing instead to simply not disclose
the T_Eng function at all. In an email sent in June 2013 as FCA was preparing the
Applications for the Subject Vehicles, one of PALMA’s co-conspirators emailed
PALMA and others to discuss this new strategy, writing, “[IJn the CERT docs
tEngine is not mentioned, since if CARB found [out] about that it would be probably
considered as cycle beating. On the other side, the cert docs need to reflect the
actual enable conditions, so even not mentioning explicitly t engine we could get
questions and maybe they could [find out] about it.” The next day, PALMA wrote
to his co-conspirators, and others, “I would like to have the strategy active but I don’t
want to disclose the t engine[.]”

47. In another email sent in June 2013 as FCA was preparing the
Applications for the Subject Vehicles, one of PALMA’s co-conspirators emailed

PALMA and others, writing, “[A]ttached [is] the latest revision of the AECD with

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the new cal[ibration].... The only strategies mentioned for the EGR are correction
based on environmental temperature and pressure, nothing that in my opinion could
put us in trouble. Other than that, we are discussing mainly shut off conditions.
There’s no mention of the t engine in the AECD.”

48. Even after submitting an Application for the Subject Vehicles,
PALMA and his co-conspirators continued to mislead FCA’s Regulators by
concealing both the T_Eng function and the manner in which they were
manipulating the EGR rate “off cycle.”

49. For example, the Subject Vehicles initially included T_Eng as an input
condition to several OBD monitors, meaning that the OBD system had been
calibrated to use T_Eng to determine whether the vehicle was working properly.
However, because OBD monitor input conditions were required to be disclosed to
FCA’s Regulators, PALMA and his co-conspirators implemented software changes
to remove T_Eng as an OBD monitor input condition solely to avoid potential
disclosure of T_Eng in FCA’s OBD certification documents. In March 2014,
PALMA explained this strategy in an email he sent to his co-conspirators, and
others, writing, “MY15 current cal has tEng as an enable condition for RHU, all the

enable conditions should be disclosed in the cert docs. tEng is not disclosed in the
MY 14/15 docs and that shouldn’t be changed[.]”

Deceptive and Fraudulent Conduct to Conceal the Emissions Impact and Function
of Online Dosing

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50. PALMA and his co-conspirators calibrated the Online Dosing mode so
that it would not activate during the federal test procedures, meaning that the Subject
Vehicles were always in Standard Dosing mode during the portion of the federal test
procedures that tested the Subject Vehicles’ emissions.

51. The reason for using two different DEF dosing modes in the SCR
system of the Subject Vehicles was to reduce DEF consumption “off cycle,” with
the associated increase in NOx emissions occurring “off cycle,” as described in an
email sent by one of PALMA’s co-conspirators:

In brief, there are two strategies for injecting urea in the SCR: standard
dosing and online dosing.

Standard dosing is what you do on cycle to obtain maximum NOx
conversion efficiency.

In theory, online dosing is used under particular conditions (e.g.: very

high SCR temperatures) in which we know that the exhaust is not as

efficient as it should be. So if we inject based on standard dosing

under these conditions, the urea would not convert the NOx but would

escape from the SCR (urea slip). In reality, we use online dosing as

soon as we can off-cycle to consume less urea.

52. PALMA and his co-conspirators were concerned that FCA’s
Regulators would not find their goal of reducing DEF consumption to make the
Subject Vehicles more attractive to FCA’s customers to be a valid or appropriate
justification for increasing NOx emissions “off cycle.” In February 2013, PALMA

acknowledged these concerns in an email he sent to his co-conspirators and others,

writing, “DEF consumption is a functional objective, dealing with CARB/EPA is

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clearly a higher level priority. In other words we cannot say we run very low dosing
‘off cycle’ because we want to meet the agreed refill change interval.”

53. Due to these concerns, PALMA and his co-conspirators began to
discuss potential false and fraudulent excuses they could use with FCA’s Regulators
to justify their Online Dosing strategy. One such false and fraudulent justification
for using Online Dosing to control DEF consumption discussed by PALMA and his
co-conspirators was to tell FCA’s Regulators that the Online Dosing mode was being
used to prevent a condition they called “ammonia slip,” or “NH; slip,” meaning that
the DEF solution could pool and ultimately leak out of the tail pipe of the vehicle.

54. For example, in May 2012, PALMA received an email with the subject
“ADBLUE CONSUMPTION,” in which a proposal was discussed to
simultaneously reduce SCR dosing and the EGR rate in the Subject Vehicles during
“off cycle” conditions. PALMA responded by asking, “[H]ow do we explain to
EPA/CARB that we close the EGR and reduce dos[ing] at high speed? It will never
fly[.]” In response, one of PALMA’s co-conspirators wrote that they could tell
FCA’s Regulators that the “(official) purpose for reducing EGR is to lower
temperature at the Inlet Manifold. Lowering AdBlue will be explained as a

protection against NH3 leaks (very probable at high NOx concentration, high
volume of exhaust gases, and high temperatures).”

55. However, testing of the SCR system used on the Subject Vehicles,

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which was conducted in late February and early March 2013 and provided to
PALMA and his co-conspirators, showed no evidence of NH; slip in either Standard
Dosing or Online Dosing modes.

56. In fact, PALMA himself acknowledged that FCA considered the
Online Dosing strategy “borderline as it’s not justified by a real need other than to
minimize the [DEF] consumption.”

57. PALMA and other co-conspirators even discussed that Online Dosing
was potentially a defeat device. In March 2013, PALMA and other co-conspirators
circulated via email a 14-year-old press release regarding an $83.4 million settlement
between diesel-engine manufacturers and the EPA for “illegal ‘defeat devices,’
which allow an engine to pass the EPA emissions test, but then turn off emission
controls during highway driving.” In the email circulating the press release, one of
PALMA’s co-conspirators simply wrote, “Speaking of online dosing. . .”

58. Eventually PALMA and his co-conspirators decided to not even try to
falsely justify the Online Dosing function to FCA’s Regulators, choosing instead to
simply conceal its existence by not disclosing the Online Dosing function at all.

59. PALMA and his co-conspirators also made false and misleading
representations in the Applications submitted by FCA to FCA’s Regulators in 2014,
2015, and 2016, about whether the SCR system as calibrated was capable or even

designed to compensate for the increase in NOx emissions caused by a decrease in

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disclosed EGR rates.

Deceptive and Fraudulent Conduct to Conceal the Emissions Impact and Function
of the Valve Train Cleaning Routine

 

60. The valve train cleaning routine was a timer based software strategy
used on the Subject Vehicles that initiated after 30 minutes of engine operation to
shut off the EGR system for five minutes.

61. PALMA, his co-conspirators, and others, implemented the valve train
cleaning routine in or around July 2013, after they encountered an issue related to
engine shudder in the Subject Vehicles, which caused the vehicles to noticeably
shake. VM identified the cause of the engine shudder as an accumulation of soot
deposits on the exhaust valve stems, which could cause the valves to close too
slowly, or become stuck all together, and determined that running the engine with
the EGR rate reduced to zero corrected the shudder problem.

62. Onor about July 13, 2013, PALMA’s co-conspirator proposed setting
the activation timer for the valve train cleaning routine at 30 minutes, in order to
avoid the possibility that the routine would run during any portion of the federal test
procedures. The 30-minute activation time was explained in an email sent to
PALMA from PALMA’s co-conspirator as representing the longest time the engine
would be on the driving “cycle” for certification purposes, which was a total of 1545
seconds, plus a “10% safety margin,” which totaled 28 minutes. PALMA’s co-

conspirator concluded, “This means that for any driving cycle (key on) longer than

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28 [minutes] (I would set it to 30 [minutes]) the egr can be closed for. . . . tbd[.]”

63. Following the implementation of the valve train cleaning routine,
PALMA and his co-conspirators learned that the SCR system was consistently in
Online Dosing mode during the routine, which could significantly reduce the SCR
system’s ability to neutralize the additional NOx generated from the complete
closure of the EGR system. As one of PALMA’s co-conspirators explained in July
2013, “Obviously, if you close the EGR and do more NOx and you are in online
dosing, there is no hope that the extra NOx you do gets consumed by the SCR...”

64. In an effort to obtain approval from FCA’s Regulators for the MY15
Subject Vehicles, PALMA caused FCA to provide false and misleading information
in response to questions from CARB about the valve train cleaning routine. For
example, when CARB asked why the routine did not initiate until 30 minutes after
the engine started, PALMA caused FCA to falsely state that “the time to initiate this
cleaning routine [was] based on the time to fully warm the engine[,]” and that FCA
“sampled various startup coolant temperatures and driving cycles to determine the
optimum time to enable the cleaning routine.”

65. PALMA also participated in a meeting with CARB to discuss the valve
train cleaning routine on October 7, 2014. Prior to the meeting, PALMA prepared
data regarding the emissions impact of the routine when it was run on one of the

federal test cycles, which was shared with CARB. An explanation accompanying

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the data claimed that due to increases in SCR dosing when the valve train cleaning
routine activated, the data showed “no extra tailpipe NOx while EGR is off due to
SCR compensation activity.” However, neither the data, nor the narrative,
disclosed the existence of Online Dosing, and its negative impact on the SCR
system’s ability to compensate for the increase in NOx emissions when the valve
train cleaning routine was run “off cycle.”

66. After receiving PALMA’s false explanation regarding the timing of the
routine’s initiation and misleading emissions data, CARB approved the application
for the MY15 Subject Vehicles.

67. On or about September 27, 2015, PALMA conducted emissions testing
based on a protocol he designed to simulate road emissions, which included the test
vehicle running continuously for more than 35 minutes. PALMA shared the results
of that testing internally at FCA, which PALMA explained showed that NOx
emissions were “clearly higher” when the valve train cleaning routine was running.
However, when PALMA and his co-conspirators disclosed the valve train cleaning
routine to the EPA in or around November 2015, they falsely claimed and caused
others to falsely claim that “the NOx emission level of the vehicle is not expected to
increase.”

Deceptive and Fraudulent Conduct Related to FCA’s Customers and the Public

68. Having obtained the necessary authorization from FCA’s Regulators to

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sell the Subject Vehicles in the United States, PALMA and his co-conspirators
caused the Subject Vehicles to be marketed to FCA’s customers and the public
through false and misleading statements about the Subject Vehicles, including that
they used fuel efficient “clean EcoDiesel engine[s]” that reduced emissions and were
environmentally-friendly. FCA’s marketing strategy for the EcoDiesel included
targeting “green-conscious” customers by touting the fuel efficiency of the Subject
Vehicles, and claiming that the Jeep Grand Cherokee EcoDiesel was the “cleanest
diesel” engine in its class. PALMA and his co-conspirators knew that these
representations were false and misleading, that FCA’s diesel vehicles were polluting
the environment in violation of federal regulations, and that the authorization to sell
the Subject Vehicles had been obtained, in part, through false and misleading
misrepresentations they had made to FCA’s Regulators.

Deceptive and Fraudulent Conduct During Meetings with FCA’s Regulators

69. In or around September 2015, the EPA notified FCA that it would
perform additional emissions testing “using driving cycles and conditions that may
reasonably be expected to be encountered in normal operation and use, for the
purpose of investigating a potential defeat device.”

70. PALMA began assisting FCA with its response to the EPA testing,
including by drafting written responses to EPA questions, gathering and presenting

emissions data, and attending meetings and answering questions from the EPA about

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the emissions control system used on the Subject Vehicles.

71. PALMA made and caused to be made false and misleading
representations to the EPA, including false and misleading misrepresentations about
the purpose, function, and emissions impact of (a) T_Eng, (b) “Online Dosing,” and
(c) the valve train cleaning routine. For example, in preparation for a meeting that
was held on or about June 29, 2016 between FCA and FCA’s Regulators, PALMA
assisted in the preparation of a PowerPoint presentation, including by drafting
specific slides, that purported to explain the reasons why certain emissions control
functions had been used in the Subject Vehicles, including T Eng, Online Dosing,
and the valve train cleaning routine (“the PowerPoint Presentation”). During the
meeting, which PALMA attended, numerous false and misleading representations
which were contained within the PowerPoint Presentation were given to FCA’s
Regulators, including that:

a. T_Eng was a proxy for SCR temperature, based on experience with
previous engine development and existing software module;

b. Online Dosing was utilized to reduce risk of ammonia slip and to
protect the catalyst from condensed (liquid) ammonia;

c. Online Dosing was activated to deplete the catalyst and avoid ammonia
slip under conditions where additional DEF dosing would only

marginally improve NOx conversion efficiency;

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d. the initiation of the valve train cleaning routine 30 minutes after the
start of the engine was based on “engineering judgment to balance
risks;”

e. the valve train cleaning routine lasts five minutes based on testing; and

f. the SCR effectively controls NOx emissions during a substantial
portion of normal driving during the valve train cleaning routine.

72. During the June 29, 2016 meeting, PALMA also personally provided
false and misleading representations in response to several questions from FCA’s
Regulators, including that the valve train cleaning routine was initiated after 30

minutes based on testing and analysis.

Il. THE CHARGES ‘
COUNT I

Conspiracy to Defraud the United States, Violate the Clean Air Act, and
Commit Wire Fraud (18 U.S.C. § 371)

73. Paragraphs 1 through 72 of this Indictment are realleged and
incorporated by reference as though fully set forth herein.

74. From at least in or about 2010 and continuing through at least in or
about April 2017, in Oakland County, within the Eastern District of Michigan, and
elsewhere, the defendant EMANUELE PALMA, and others known and unknown
to the Grand Jury, did knowingly, intentionally, and willfully combine, conspire, and

confederate and did agree to:

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defraud the United States by impairing, impeding, obstructing, and
defeating a lawful function of the federal government, that is, the U.S.
EPA’s function of implementing and enforcing emissions standards for
air pollutants for new motor vehicles under the Clean Air Act, by
deceitful and dishonest means, in violation of 18 U.S.C. § 371;

violate the Clean Air Act, by making, and causing to be made, false
material statements, representations, and certifications in, and omitting
and causing to be omitted material information from, notices,
applications, records, reports, plans, and other documents required
pursuant to the Clean Air Act to be filed and maintained, in violation of
42 U.S.C. § 7413(c)(2)(A); and

commit wire fraud, that is, knowingly, willfully, and with the intent to
defraud, having devised and intending to devise a scheme and artifice
to defraud and to obtain money and property by means of materially
false and fraudulent pretenses, representations, and promises, transmit
and cause to be transmitted by means of wire, radio, and television
communication, writings, signs, signals, pictures, and sounds in
interstate and foreign commerce for the purpose of executing such

scheme and artifice in violation of 18 U.S.C. § 1343.

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THE PURPOSE OF THE CONSPIRACY

75. The Grand Jury realleges and incorporates by reference paragraph 33
as a description of the purpose of the conspiracy.

MANNER AND MEANS OF THE CONSPIRACY

76. The Grand Jury realleges and incorporates by reference paragraphs 34
through 72 as a description of the manner and means of the conspiracy.

OVERT ACTS

77. In furtherance of the conspiracy and to achieve its objects and purpose,
at least one of the co-conspirators committed and caused to be committed, in the
Eastern District of Michigan, and elsewhere, the following overt acts, among others:

78. On or about December 19, 2011, PALMA provided a plan to increase
fuel efficiency in the Subject Vehicles by implementing a vehicle speed correction
to EGR that would not affect the federal test procedures and by implementing T_Eng
into the calibration.

79. Onor about January 8, 2012, one of PALMA’s co-conspirators sent an
email to PALMA and others acknowledging that T_Eng was being used as cycle
detection, suggesting justifying T_Eng as “optimization of engine operations during
warm-up,” and giving instructions not to call T_Eng “cycle recognition.”

80. On or about May 27, 2013, one of PALMA’s co-conspirator’s sent an
email to PALMA, writing, “So we have the solution: a lot of cycle recognition with

t_engine[.] It’s just a question of understanding if we are to be sent home, or if

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[another co-conspirator] is to go to jail: I would say the 2nd.”

81. On or about June 18, 2013, one of PALMA’s co-conspirator’s sent an
email to PALMA and others writing, “[I]n the CERT docs tEngine is not mentioned,
since if CARB found [out] about that it would be probably considered as cycle
beating. On the other side, the cert docs need to reflect the actual enable conditions,
so even not mentioning explicitly t engine we could get questions and maybe they
could [find out] about it.”

82. On or about June 19, 2013, PALMA sent an email to his co-
conspirators writing, “I would like to have the strategy active but I don’t want to
disclose the t engine [to FCA’s Regulators].”

83. On or about July 28, 2013, PALMA and his co-conspirators received
an email discussing the accuracy of the AECD disclosures that were being submitted
to FCA’s Regulators, which said, “I am convinced we all know what is written in
the AECD is not transparent|.]”

84. On or about March 10, 2014, one of PALMA’s co-conspirators sent an
email to PALMA and others proposing a software change in the OBD system used
on the Subject Vehicles in order to avoid disclosing T Eng to FCA’s Regulators.

85. On or about October 1, 2014, in response to a question asking why FCA
waited 30 minutes to run the valve train cleaning routine, PALMA caused FCA to

falsely tell CARB it “chose the time to initiate this cleaning routine based on the

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time to fully warm the engine.”

86. On or about October 7, 2014, PALMA caused FCA to email to CARB
emissions data related to the valve train cleaning routine, and described it as
depicting “no extra tailpipe NOx while EGR is off due to SCR compensation
activity.”

87. On or about December 23, 2014, PALMA caused FCA to submit to
FCA’s Regulators the final MY14 Common Application for the Subject Vehicles
that contained false and misleading representations.

88. On or about February 26, 2015, PALMA caused FCA to submit to
FCA’s Regulators the initial MY16 Common Application for the Subject Vehicles
that contained false and misleading representations.

89. On or about November 17, 2015, PALMA caused FCA to submit to
FCA’s Regulators an AECD list for the MY14 Subject Vehicles that contained false
and misleading representations.

90. On or about November 24, 2015, PALMA caused FCA to submit to
FCA’s Regulators an AECD list for its MY15 COC application that contained false

and misleading representations.
91. On or about November 23, 2015, PALMA caused FCA to submit to

FCA’s Regulators an AECD list for its MY16 COC application that contained false

and misleading representations.

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92. On or about November 25, 2015, PALMA participated in a meeting
with the EPA where he concealed the function and emissions impact of T_Eng and
Online Dosing, and claimed that the valve train cleaning routine had no impact on
emissions.

93. Onor about March 4, 2016, PALMA caused FCA to submit to FCA’s
Regulators the final MYI5 Common Application for the Subject Vehicles that
contained false and misleading representations.

94. On or about June 29, 2016, PALMA caused FCA to make false and
misleading representations to FCA’s Regulators, including that T_Eng was a
“proxy” for SCR temperature, that Online Dosing was utilized to reduce the risk of
ammonia slip, and that the timing of the valve train cleaning routine was based on
engineering judgment and testing.

95. Onor about April 21,2017, PALMA caused FCA to submit a response
to one of the EPA’s requests for information about the Subject Vehicles that
contained material misrepresentations and omissions about T_Eng.

All in violation of Title 18, United States Code, Section 371.

COUNTS II THROUGH VII
Violations of the Clean Air Act (42 U.S.C. § 7413(c)(2)(A))

96. Paragraphs 1 through 72 and 78 through 95 of this Indictment are
realleged and incorporated by reference as though fully set forth herein.

97. On or about the dates specified as to each count below, in Oakland

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County, within the Eastern District of Michigan, and elsewhere, the defendant
EMANUELE PALMA, aided and abetted by others known and unknown, did

knowingly make and cause to be made, false material statements, representations,

|
|
and certifications in, and omit and cause to be omitted material information from, |
and knowingly altered, concealed, and failed to file and maintain, notices,

applications, records, reports, plans, and other documents required pursuant to the

Clean Air Act to be filed and maintained with the EPA. i

 

 

 

 

 

 

 

Count Approximate Title of Document as Submitted
Date
7 December 23, | 2014 MY Common Final-Application for
2014 Certification-Final End of Model Year Application
February 26 Application to EPA Model Year 2016 for the Jeep
3 2015 ’ | Grand Cherokee Diesel and Ram 1500 Diesel (Test
Group GCRXT03.05PV)
4 November 17, | 2014MY Certification Support Document for
2015 AECD Information
5 November 23, | MY2016 Certification Support Document for
2015 AECD Information
6 November 24, | 2015 MY Certification Support Document for
2015 AECD Information
7 March 4, 2016 | 2015 MY Common Final Application

 

 

 

 

 

All in violation of 42 U.S.C. § 7413(c)(2)(A) and 18 U.S.C. § 2.

COUNTS VIII THROUGH XI
Wire Fraud (18 U.S.C. §§ 1343 and 2)

98. Paragraphs 1 through 72 and 78 through 95 of this Indictment are
realleged and incorporated by reference as though fully set forth herein.

99. From at least in or around 2010 through at least in or around April 2017,

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in Oakland County, within the Eastern District of Michigan and elsewhere, the
defendant EMANUELE PALMA, aided and abetted by others known and
unknown, did knowingly, willfully, and with the intent to defraud, having devised
and intending to devise a scheme and artifice to defraud, and to obtain money and
property by means of materially false and fraudulent pretenses, representations, and
promises, knowing such pretenses, representations, and promises were false and
fraudulent when made, transmit and cause to be transmitted, by means of wire, radio,
and television communication, writings, signals, pictures, and sounds in interstate
and foreign commerce for the purposes of executing such scheme and artifice.

PURPOSE OF THE SCHEME AND ARTIFICE TO DEFRAUD

100. The Grand Jury realleges and incorporates by reference paragraph 33
of this Indictment as though fully set forth herein as a description of the purpose of
the scheme and artifice.

THE SCHEME AND ARTIFICE TO DEFRAUD

101. The Grand Jury realleges and incorporates by reference paragraphs 34
through 72 of this Indictment as though fully set forth herein as a description of the
scheme and artifice.

USE OF THE WIRES

102. On or about the dates specified as to each count below, the defendant
EMANUELE PALMA, in Oakland County, within the Eastern District of Michigan

and elsewhere, for the purpose of executing the aforesaid scheme and artifice to

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defraud, and attempting to do so, did knowingly transmit and cause to be transmitted,
by means of wire, radio, and television communication, writings, signals, pictures,
and sounds in interstate and foreign commerce for the purposes of executing such

scheme and artifice, as set forth below:

 

Approximate

Count Date

Description of Wire Communication

 

Email from PALMA to co-conspirators and others
forwarding information provided to CARB.

Email from PALMA to a co-conspirator describing
the valve train cleaning routine.

Email caused to be sent by PALMA to FCA’s

8 October 1, 2014

 

9 October 3, 2014

 

 

10 December I, Regulators concerning the Subject Vehicles’
emissions control system.
Email from PALMA attaching a draft of a
11 June 24,2016 | PowerPoint Presentation provided to FCA’s

 

 

 

 

Regulators.

 

All in violation of Title 18, United States Code, Sections 1343 and 2.

COUNTS XII THROUGH XIII
False Statements (18 U.S.C. § 1001(a))

103. The Grand Jury realleges and incorporates by reference paragraphs 1
through 72 and 78 through 95 of this Indictment as though fully set forth herein.

104. On or about the dates specified as to each count below, in Oakland
County, within the Eastern District of Michigan, and elsewhere, the defendant
EMANUELE PALMA, in a matter within the jurisdiction of the executive branch
of the Government of the United States, to wit: the Federal Bureau of Investigation

(“FBI”), and the United States Environmental Protection Agency, Criminal

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Investigation Division (“EPA-CID”), knowingly and willfully (1) falsified,
concealed, and covered up by trick, scheme, and device a material fact, and (2) made

materially false, fictitious, and fraudulent statements and representations as follows:

 

Approximate

Count Date

False Statement(s)

 

During an interview with the FBI and EPA-CID,
PALMA falsely stated that one of the reasons the
T Eng was introduced was to contain soot emissions
and resolve “engine shudder.”

During an interview with the FBI and EPA-CID,
PALMA falsely stated that there was never an attempt
13 August 3, 2016 | to calibrate the Subject Vehicles in a way that there
was “cycle recognition” and when the “cycle” is over
there were no longer emissions controls.

12 August 3, 2016

 

 

 

 

 

 

All in violation of Title 18, United States Code, Section 1001(a).

THIS IS A TRUE BILL.

/s/ Grand Jury Foreperson
Grand Jury Foreperson

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MATTHEW SCHNEIDER JEAN E. WILLIAMS
United States Attorney Deputy Assistant Attorney
Eastern District of Michigan General

Environment & Natural
Resources Division

/s/ John _K. Neal /s/ Todd W_ Gleason

JOHN K. NEAL TODD W. GLEASON

Chief, White Collar Crime Unit Senior Trial Attorney
Assistant United States Attorney Environmental Crimes Section

TIMOTHY J. WYSE
Assistant United States Attorney
Eastern District of Michigan

ROBERT A. ZINK

Chief

Fraud Section, Criminal Division
United States Department of Justice

/s/ Henry P. Van Dyck

HENRY P. VAN DYCK

Deputy Chief, Securities & Financial Fraud Unit
KYLE W. MAURER

JASON M. COVERT

Trial Attorneys

Dated: September 18, 2019

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Case:2:19-cr-20626

Judge: Edmunds, Nancy G.
United States District Court imi MJ: Grand, David R.

Eastern District of Michigan Criminal Case Covel Filed: 09-18-2019 At 03:08 PM

USA V SEALED MATTER (af)
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 

 

 

 

 

 

Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b){4)": Judge Assigned:
Ll yes No AUSA’s Initials: W4/

 

 

 

Case Title: USA v. Emanuele Palma

County where offense occurred : Oakland

 

/
Check One: Felony LJMisdemeanor L]Petty
¥_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

 

Superseding to Case No: Judge:

 

[_]Corrects errors; no additional charges or defendants.
[_]involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

c

September 18, 2019
Date

 

Assistant United States Attorney

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Detroit, MI 48226-3277

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Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.

5/16
